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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
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 9   LEA BLACK,                                           NO. C15-2008-TSZ

10                      Plaintiff,

11          v.                                            ORDER RE HEARING ON MOTION
                                                          FOR SANCTIONS FOR ALLEGED
12   PRIDE MOBILITY PRODUCTS                              DISCOVERY VIOLATIONS
13   CORPORATION, a foreign corporation, et
     al.,
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                        Defendants.
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16          This matter comes before the Court sua sponte. During the hearing on plaintiff’s
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     Motion for Sanctions, Dkt. 219, set for Wednesday, September 19, 2018 at 9 a.m., the parties
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     should be prepared to present argument related to the alleged discovery violations in this case,
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     including defendants’ failure to timely disclose the Pamela Smith claim, information provided
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21   in responses to discovery requests in cases against Pride that involved braking defects,

22   freewheeling complaints, and information on recall orders. With respect to Mr. Zablocky, Mr.

23   Burns, and Mr. Hoyes, defendants shall initially have an opportunity to present testimony
24   regarding the witnesses’ attempts to comply with plaintiffs’ discovery requests, plaintiffs shall
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 1   have an opportunity to cross-examine each witness, and then defendants may briefly provide

 2   rebuttal testimony. Finally, the Court may also ask questions of each witness.
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            The Clerk is directed to send a copy of this Order to all counsel of record, and to
 4
     Judge Zilly.
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            DATED this 17th day of September, 2018.
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                                                  A
                                                  JAMES P. DONOHUE
                                                  United States Magistrate Judge
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     ORDER - 2
